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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                           NORFOLK DIVISION



   UNITED STATES OF AMERICA,

          v.
                                                         Case No. 4:23-cr-00054
   CORTEZ BUMPHUS,

                       Defendant.


               DEFENDANT CORTEZ BUMPHUS’ TRIAL BRIEF

       Now comes the defendant, Mr. Cortez Bumphus, by counsel, and submits his

 trial brief to address (1) the charges in the indictment, (2) the law governing the

 case, (3) anticipated trial evidence, (4) the anticipated length of testimony of defense

 witnesses, (5) the evidentiary basis for exhibits and testimony, and (6) anticipated

 evidentiary or legal issues in dispute.

                 The Charges Against Mr. Bumphus in the Indictment

       The Defendant is charged in the second superseding indictment with the

 following thirteen counts: Continuing a Criminal Enterprise in violation of 21

 U.S.C. 848 (Count 1); Conspiracy to Distribute a Controlled Substance, in violation

 of 21 U.S.C. 846 (Count 2); Conspiracy to Commit Money Laundering, in violation of

 18 U.S.C. 1956 (Count 3); Possession with Intent to Distribute a Controlled

 Substance, in violation of 21 U.S.C. 841 (Counts 12 through 15); Unlawful

 Possession of a Firearm (Felon, and Drug Crime), in violation of 18 U.S.C. 922, 924




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 (Count 16 through Count 19); Unlawful Use of Building for Drug Distribution, in

 violation of 21 U.S.C. 856 (Count 20); Unlawful Use of Telephone in Furtherance of

 Felony, in violation of 21 U.S.C. 843 (Count 21).

                            The Law Governing the Case

       The essential elements of Count 1 are as follows: (1) the defendant committed

 a felony violation of 21 U.S.C. Chapter 13; (2) that felony must be a part of a

 continuing series of violations of 21 U.S.C. Chapter 13; (3) those violations must be

 undertaken with five or more persons; (4) the defendant must act in a position of

 management with respect to those five persons; and (5) the defendant must obtain

 substantial income or resources from the continuing series of violations. See, e.g.,

 United States v. Aiello, 864 F.2d 257, 263-64 (2d Cir. 1988). A continuing series of

 violations has been held to require proof of three or more related violation. United

 States v. Young, 745 F.2d 733, 747 (2d Cir. 1984), cert. denied, 407 U.S. 1084 (1985).

 Unanimity in respect to each individual violation is necessary. Richardson v. United

 States, 526 U.S. 813, 816, 119 S. Ct. 1707, 1709 (1999). Further, it is necessary to

 prove an agreement between the defendant and each of the five or more other

 persons   identical   to   the   kind   of   agreement   necessary    to   establish   a

 conspiracy. Jeffers v. United States, 432 U.S. 137 (1977). There may also be a

 “unanimity requirement in respect to” this element as well. See Richardson v.

 United States, 526 U.S. 813, 824, 119 S. Ct. 1707, 1713 (1999) (Assuming, without

 deciding, that there is no unanimity requirement in respect to these other




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 provisions, we nonetheless find them significantly different from the provision

 before us.”)

          The essential elements of Count 2 are as follows: (1) there was an agreement

 between two or more persons to engage in conduct that violates a federal drug law,

 (2) the defendant knew of this conspiracy; and (3) the defendant's knowing and

 voluntary participation in the conspiracy. United States v. Strickland, 245 F.3d 368,

 384-85 (4th Cir. 2001); United States v. Burgos, 94 F.3d 849, 857 (4th Cir. 1996) (en

 banc).

          The essential elements of Count 3 are as follows: (1) an agreement between

 two or more persons to commit one or more of the substantive money laundering

 offenses proscribed under 18 U.S.C § 1956(a) or § 1957; (2) defendant knew that the

 money laundering proceeds had been derived from an illegal activity; and (3) the

 defendant knowingly and voluntarily became part of the conspiracy. United States

 v. Ravenell, 66 F.4th 472, 486 (4th Cir. 2023).

          The essential elements of Counts 12 through 15 are as follows: (1) the

 defendant knowingly or intentionally, (2) manufacture, distribute, or dispense, or

 possess with intent to manufacture, distribute, or dispense, (3) a controlled

 substance. United States v. Colston, 4 F.4th 1179, 1187 (11th Cir. 2021).

          The essential elements of Count 16 are as follows: (1) the defendant had been

 convicted in some court of a crime punishable by a term of imprisonment exceeding

 one year; (2) he thereafter voluntarily and intentionally possessed a firearm; (3) the




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 firearm had been shipped or transported in interstate or foreign commerce at some

 point during its existence. United States v. Scott, 424 F.3d 431, 435 (4th Cir. 2005).

       The essential elements of Counts 17 through 19 are as follows: (1) that the

 defendant used, carried and brandished a firearm; and (2) that the defendant did so

 during and in relation to a drug trafficking crime.

       The essential elements of Count 20 are as follows: the defendant (1)

 knowingly; (2) opened, leased, rented, used, or maintained any place, permanently

 or temporarily; (3) for the purpose of manufacturing, distributing, or using any

 controlled substance. United States v. Hicks, 64 F.4th 546, 551 (4th Cir. 2023). The

 government must prove it was a primary or principal reason, and the defendant

 must have the distribution of drugs as a specific purpose for the residence, which is

 more than a mere collateral purpose. See United States v. Soto-Silva, 129 F.3d 340,

 346 n.4 (5th Cir. 1997); United States v. Verners, 53 F.3d 291, 295 (10th Cir. 1995);

 United States v. Roberts, 913 F.2d 211, 220 (5th Cir. 1990).

       The essential elements of Count 21 are as follows: the defendant (1)

 knowingly or intentionally, (2) used a communication facility, (3) to facilitate the

 commission of a drug felony. United States v. McKenzie, 396 F. App'x 949, 951 (4th

 Cir. 2010) (quoting United States v. Henao-Melo, 591 F.3d 798, 802 n.5 (5th Cir.

 2009)).




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                           Anticipated Trial Evidence

       The Government will rely on evidence from Title III wire taps, electronic and

 in-person surveillance, photographs, and the testimony of cooperating witnesses.

       At present, the defense does not anticipate calling any witnesses but reserves

 the right to call any of the Government’s identified witnesses as potential rebuttal

 witnesses, for the purpose of impeachment and only should the need arise.

                 Anticipated Length of Testimony of Witnesses

       Because Mr. Bumphus is reserving his right to call Government witnesses for

 the purposes of impeachment in the event of prior inconsistent statements, and only

 as needed, it is difficult to state with certainty the anticipated length of his

 testimony. Should Mr. Bumphus call witnesses, he does not anticipate he will need

 more than 4 hours.

                 Evidentiary Basis for Exhibits and Testimony

       Mr. Bumphus will be presenting various exhibits and eliciting various

 testimony relevant for impeachment such as prior inconsistent statements. Further

 Mr. Bumphus will be presenting exhibits and testimony to directly attack the

 government’s theory of the case and burden of proof.

              Anticipated Evidentiary or Legal Issues in Dispute

       Mr. Bumphus is not able to identify any significant potential evidentiary

 issues beyond those that might otherwise arise during the normal course of a trial.

 Mr. Bumphus will be prepared to address these issues should the need arise.




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       Mr. Bumphus did identify as a potential issue the reason for his incarceration

 during a significant portion of the alleged conspiracy, from approximately October

 16, 2020, until October 27, 2022. Mr. Bumphus and the Government have discussed

 this issue in person and the parties have agreed that the charges for which he was

 incarcerated will not be mentioned by any witness, and the jury may be advised

 that the charges for which Mr. Bumphus was incarcerated were dismissed after a

 jury trial. The defense anticipates requesting an instruction from the Court

 regarding the incarceration and that the jury cannot infer guilty from the fact that

 he was previously incarcerated. The Government will not oppose such request.


 Respectfully submitted, the 24th day of June, 2025.


 /s/ Blake A. Weiner
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                           CERTIFICATE OF SERVICE

       I hereby certify that on June 24, 2025, I electronically filed the foregoing with

 the Clerk of the Court for the United States District Court for the Eastern District

 of Virginia using the Court’s CM/ECF system.


 Respectfully submitted, the 24th day of June, 2025.


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